                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     ASHEVILLE DIVISION                                   凝鋼鍮       .c.



                                    DOCKET NO.1:15CRl12                                   MAR 2 8 2016

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UNITED STATES OF AMERICA,
                       Plaintifl
                                                              CONSENT ORDER AND
               V.                                         JUDGⅣ IENT OF FORFEITU駆

1)MAURICE ANGELO PEARCE,」 R.,

                       Defendant.



        WHEREAS, the defendant, MAURICE ANGELO PEARCE, JR., has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Fed. R. Crim. P. 1l to one or more criminal offenses under which forfeiture may
be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
otfense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 2l U.S.C. $ 853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject
to forfeiture pursuant to l8 U.S.C. $ 981(aXl), 28 U.S.C. 5 2461, and l8 U.S.C. $ 1956(c)(7),
provided, however, that such forfeiture is subject to any and all third party claims and interests,
pending final adjudication herein;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim. P. 32.2
regarding notice of the tbrfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

        WHEREAS, pursuant to Fed. R. Crim. P.32.2(b)(1) & (cX2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded
guilty and that the defendant has a legal or possessory interest in the properly;

        WHEREAS, the detbndant withdraws any claim previously submitted in response to an
administrative forfeiture or civil tbrfeiture proceeding conceming any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all
right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of the
property described below has previously been stayed, the det-endant hereby consents to a lifting of




     Case 1:15-cr-00112-MR-WCM             Document 50        Filed 03/28/16      Page 1 of 3
the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is forfeited to the United States:

            o A personal money judgment in forfeiture in the amount of $59,700.79, which
                sum represents proceeds obtained, directly or indirectly, from the offenses
                pleaded to, jointly and severally with Malik Hideo McCrary, Devontae
                Dayshawn Perry, and Lonnie J. Moton.

        The personal money judgment in forfeiture shall be included in the sentence of the
defendant, and the United States Department of Justice may take steps to collect the judgment
tiom any property, real or personal, of the defendant, in accordance with the substitute asset
provisions of 21 U.S.C. $ 853(p).

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

       Upon the seizure of any property to satisfy all or part of the judgment, if and to the extent
required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n), and/or other applicable law, the
United States shall publish notice and provide direct written notice of this fort'eiture.

        Any person, other than the det-endant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

       Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order of Forfeiture, the United
States Attorney's Office is authorized to conduct any discovery needed to identify, locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas, pursuant to Fed. R. Civ. P. 45.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P.32.2(b)(4)(A), the defendant consents that
this order shall be final as to defendant upon filing.
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     Case 1:15-cr-00112-MR-WCM               Document 50        Filed 03/28/16       Page 2 of 3
SO AGREED:



JOHN D PRITCHARD
Assistant United States Attomev




Defendant




MARY ELL       COLEヽ4AN




       Signed this the ミヽ ｀
                          ヽ ay ofヽ 、ヽ        ,2016




                                  United States Magistrate Judge
                                  Western District of North Carolina




    Case 1:15-cr-00112-MR-WCM           Document 50     Filed 03/28/16   Page 3 of 3
